
PER CURIAM.
*137Affirmed. See Valdes v. GAB Robins N. Am., Inc., 924 So.2d 862, 866 (Fla. 3d DCA 2006) ("It is axiomatic that a plaintiff in a malicious prosecution case must, as an essential element of that cause of action, establish that the prior litigation giving rise to the malicious prosecution suit ended with a 'bona fide termination' in that party's favor.") (quoting Doss v. Bank of Am., N.A., 857 So.2d 991, 994 (Fla. 5th DCA 2003) ); see also Union Oil of Cal., Amsco Div. v. Watson, 468 So.2d 349, 353 (Fla. 3d DCA 1985) ("Where dismissal is on technical grounds, for procedural reasons, or any other reason not inconsistent with the guilt of the accused, it does not constitute a favorable termination.").
